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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE EASTERN DlSTRlCT OF PENNSYLVAN|A

BERNADETTE W|NANS : JURY TR|AL DEMANDED
as Administrator of the Estate of

CARMELO W|NANS, deceased : C|V|L ACT|ON NO. 11-
and on behalf of :
|\/linor P|aintiffs
Hl
J| B|

E. Huntingdon Street
Phi|ade|phia, PA,

Plaintiffs

W| and

V.

PO R|CHARD N|COLETT|
Badge N0. 3798
individually and

in his official capacity as a
Phi|ade|phia Police Officer
1515 Arch Street
Phi|ade|phia, PA

PO MATTHEW McCARTHY
Badge N0. 2987
individually and

in his official capacity as a
Phi|ade|phia Police Officer
1515 Arch Street
Phi|ade|phia, PA

and

C|TY OF PH|LADELPH|A

1515 Arch Street

Phi|ade|phia, PA 19102,
Defendants

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COMPLA|NT

JUR|SD|CT|ON

1. This action is brought pursuantto 42 U.S.C.§§1983,1988,12132
and 29 U.S.C. §794. Jurisdiction is founded upon 28 U.S.C. §§1331 and
1343 and the aforementioned statutory provisions. Plaintifffurther invokes the
supplemental jurisdiction of this Court under 28 U.S.C. §1367(a) to hear and
adjudicate state law c|aims.

PART|ES

2. Plaintiff Bernadette Winans is a resident ofthe Commonwealth of
Pennsylvania, at the address set forth in the caption. She is the natural
parent of decedent, Carmelo Harold Winans, (hereinafter “plaintiff’s
decedent”) and Was appointed Administrator of the Estate of Carme|o Harold
Winans by the Register of Wi|ls of Phi|ade|phia County, Commonwealth of
Pennsylvania, No. A1254 of 201 1. She brings this action in her capacity as
Administrator of the Estate and upon his surviving minor children, Ha

W and Jl B¢ , the minor plaintiffs.
3. Prior to his death, Plaintiff’s decedent Carmelo Harold Winans

Was a 29 year-old male, residing in the City of Phi|ade|phia, Commonwealth

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of Pennsylvania.

4. Plaintiff’s decedent Carmelo Winans Was at a|| times relevant
hereto a qualified individual With a disability as defined in 42 U.S.C.
§12131(2).

5. Defendant City of Phi|ade|phia is a municipality of the
Commonwealth of Pennsylvania that owns, operates, manages, directs and
controls the Phi|ade|phia Police Department and is the public employer of
Defendants Richard Nicoletti and l\/latthew |\/lcCarthy.

6. Defendant City of Phi|ade|phia is a public entity as defined in 42
U.S.C. §12131(1) and receives federal financial assistance under 29 U.S.
§794.

7. Defendant Richard Nicoletti Was at all relevant times a
Phi|ade|phia Police Officer. He is being sued in his individual capacity.

8. Defendant l\/|atthew l\/|cCarthy Was at a|| relevant times a
Phi|ade|phia Police Officer. He is being sued in his individual capacity.

9. At all relevant times, Defendants Were acting under color of state
laW.

10. At all relevant times, the actions taken by al| Defendants deprived

Plaintiff’s decedent Carmelo Winans of his constitutional and statutory rights.

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FACTUAL ALLEGAT|ONS

11. On |\/larch 13, 2011, plaintiff’s decedent Carme|o Winans suffered
from a mental illness.

12. On l\/larch 13, 2011, plaintiff’s decedent Carmelo Winans Was
inside the home he shared With his father and grandparents.

13. Plaintiff’s decedent Carmelo Winans, Who Was emotionally
troubled, Was sitting in a corner on the floor of the family kitchen, holding a
small steak knife to his own neck.

14. Plaintiff’s decedent Carme|o Winans Was not threatening anyone
and he Was not engaging in any aggressive actions.

15. The police Were called to come help because it Was feared that
Carmelo Winans Would harm himse|f.

16. Defedants Nicoletti and l\/lcCarthy arrived and entered the house
in uniform, With guns drawn.

17. lt Was readily apparent to Defendants Nicoletti and |\/lcCarthy that
Carmelo Winans Was emotionally compromised, in need of assistance, and
that he did not present a threat to them or to others in the house.

18. Defendants Nicoletti and l\/|cCarthy stood safely in the entrance

to the kitchen and spoke to Carmelo Winans, Who put the knife on the floor

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as requested.

19. At this point there Was no emergency, there Was no danger and
the situation Was de-escalating safely.

20. instead of Waiting for trained back-up, including an officer Who
arrived minutes later With a taser, Officer Nicoletti dove into the kitchen onto
Carmelo Winans in an attempt to grab him and grab the knife from the floor,
With his unholstered gun in his hand.

21. Nicoletti intentionally discharged his gun, striking himself in the
protective vest.

22. Nicoletti then claimed to have been shot.

23. Officer l\/lcCarthy then proceeded to fire multiple shots at the
Carmelo Winans, Who Was defenseless, unresisting, and Who Was taking no
aggressive actions.

24. Carmelo Winans Was fatally Wounded and died on the floor of his
family’s kitchen.

25. Defendants Nicoletti and l\/lcCarthy exacerbated and escalated the
situation.

26. Defendants Nicoletti and l\/lcCarthy’s use of deadly force against

Carmelo Winans Was unreasonable.

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27. At no time did Plaintiff’s decedent Carmelo Winans commit an
offense against the laws of the Commonwealth of Pennsylvania, the United
States or the County of Phi|ade|phia for which an arrest may be lawfully made
or which justified the use of deadly force.

28. At no time did Plaintiff’s decedent Carmelo Winans commit illegal
acts or engage in conduct which justified the actions of Defendants Nicoletti
and l\/lcCarthy.

29. On numerous occasions prior to l\/larch 13, 2011, Phi|ade|phia
police officers failed to use widely recognized and well-established crisis
intervention procedures and techniques with regard to individuals exhibiting
possible mental illness, and resorted to unreasonable and excessive force.

30. The actions and conduct of Defendants Nicoletti and l\/lcCarthy
were the direct result of the failure of Defendant City of Phi|ade|phia to:

a) properly train, supervise, monitor and discipline police officers in

connection with well-established crisis intervention and commitment

procedures related to individuals with mental disabilities;

b) provide programs and services to qualified persons with mental

disabilities; and/or

c) ensure that police officers follow established crisis intervention and

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commitment procedures under such circumstances as presented bythis

case.

31. The actions and inactions of Defendants Nicoletti and l\/lcCarthy
were the proximate cause of the shooting and death of Carmelo Winans.

32. The shooting and death of Carmelo Winans were a foreseeable
consequence of the actions and inactions of Defendants Nicoletti and
l\/lcCarthy.

33. Defendants Nicoletti and l\/lcCarthy knew or should have known
that their actions and inaction could result in injuries to innocent persons.

34. Defendants Nicoletti and l\/lcCarthy failed to take reasonable care
for the safety of innocent persons, including Carmelo Winans.

35. The acts of Defendants Nicoletti and l\/lcCarthy constituted willful
misconduct.

36. The actions and conduct of Defendants Nicoletti and l\/lcCarthy
were willful, wanton, malicious, intentional, outrageous, deliberate and/or so
egregious as to shock the conscience.

37. As a direct and proximate result of the actions and inactions of
Defendants, Plaintiff‘s decedent was caused to lose his life and thereby

caused to also suffer complete loss of earnings and earnings capacity.

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38. As a direct and proximate cause of the Defendants' actions and
inactions Plaintiff’s decedent’s minor children suffered, continue to suffer, and
will suffer in the future loss of support, aid, comfort and familial
companionship of their father.

39. Plaintiff‘s decedent did not bring an action against Defendants for
damages for the injuries causing his death, during his lifetime.

40. Plaintiff Bernadette Winans brings this action as Administrator of
the Estate of decedent Carmelo Harold Winans, and on behalf of others
entitled to recover under the Pennsylvania Wrongful Death Act.

41. Plaintiffs, by reason of Carmelo Winans’ injury and death, have
suffered pecuniary loss, to their great detriment, and have or will incur
expenses for:

a. The costs of decedent's funeral expenses;
b. The costs of decedent's headstone; and
c. The costs of administering decedent's estate.

42. As a result of the death of Carmelo Winans, his children, have
been deprived of the care, comfort, aid, society, affection, support,
companionship, services, guidance, tutelage, maintenance, and assistance

of decedent for the remainder of his life, all to their great detriment and loss.

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43. By reason of the death of Plaintiff’s decedent Carmelo Winans, his
children have suffered pecuniary loss, to their great detriment, including
contributions for:

a. Food;

b. Clothing;

c. Shelter;

d. l\/ledical care;

e. Education;

f. Entertainment;

g. Recreation; and

h. Gifts.

44. Plaintiff also sues as Administrator of the Estate on behalf of the
Estate of Carmelo Harold Winans, under and by virtue of the Pennsylvania
Survival Statute, and claims damages suffered by the Estate by reason of the
death of the decedent, as well as pain, suffering, inconvenience and
pecuniary loss the decedent unden/vent prior to his death.

45. Under 42 Pa.C.S. § 8302, all the claims Carmelo Winans would
have been able to bring, had he survived his injuries, survive for plaintiff to

prosecute on behalf of decedent's Estate.

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46. Plaintiff, by reason of decedent's injury and death, has suffered
pecuniary loss, to her great detriment, and has incurred expenses for:
a. The costs of decedent's medical bills;
b. The costs of decedent's funeral expenses;
c. The costs of decedent's headstone; and
d. The costs of administering decedent's estate.

47. Under 42 Pa.C.S. § 8302, all the claims Carmelo Winans would
have been able to bring, had he survived his injuries, survive for plaintiff to
prosecute on behalf of decedent's Estate. Plaintiffalso sues as Administrator
of the Estate on behalf of the Estate of Carmelo Harold Winans, under and
by virtue of the Pennsylvania Survival Statute, and claim damages suffered
by the Estate by reason of the death of the decedent, as well as pain,
suffering and inconvenience the decedent unden/vent prior to his death.

48. As a direct and proximate cause of defendants' actions and
inactions, plaintiffs’ decedent, prior to his death, suffered from gunshot
wounds by reason of which he was rendered sick, sore, lame, prostrate, and
disordered and was made to undergo great physical pain and horrible mental
anguish which resulted in his death, as well as loss of earning power and

earning potential, and his total deprivation of the normal activities, pursuits

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and pleasures of life, and his loss of life.

49. As a direct result of the actions and conduct of all defendants,
plaintiff’s decedent suffered physical injuries, pain, emotional distress,
psychological harm, fear, horror and death, and additional harms caused by
the violation of his rights under the United States Constitution, 42 U.S.C.
§§1983, 12132 and 29 U.S.C. §794.

FlRST CAUSE OF ACT|ON
FEDERAL C|V|L R|GHTS VlOLATlONS UNDER 42 U.S.C. §1983

50. The allegations set forth in preceding paragraphs, inclusive, are
incorporated herein as though fully set forth.

51. As a direct and proximate result of Defendants' conduct,
committed under color of state law, all Defendants deprived plaintiff’s
decedent of his right to be free from the unreasonable use of force, to be
secure in his person and property, and to due process and equal protection
of the law. As a result, plaintiff’s decedent suffered harm, in violation of his
rights under the laws and Constitution of the United States, in particular the
Fourth and Fourteenth Amendments thereof, and 42 U.S.C. §1983.

52. Defendant City ofPhiladelphia has encouraged, tolerated, ratified
and has been deliberately indifferent to a pattern, practice and custom of and
to the need for more or different training, supervision, investigation or

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discipline in the areas of:

3.

The proper exercise of police powers, including improper
arrests, detentions and the unreasonable use of force;
Crisis intervention techniques for individuals who exhibit the
signs and symptoms of mental disabilities;

The procedures for the commitment and transportation of
persons with mental disabilities for treatment under the
Pennsylvania l\/lental Health and Procedures Act;

Training and resources for crisis intervention teams of
police officers and others to respond to emergencies
involving persons with mental disabilities including, but not
limited to their commitment for treatment under the
Pennsylvania l\/lental Health and Procedures Act;

The failure of police officers to follow established policies,
procedures, directives and instructions regarding crisis
intervention techniques for individuals who exhibit the signs
and symptoms of mental disabilities;

Falsely and/or prematurely publicly vindicating or supporting

the actions of officers who violate the rights of citizens,

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including victims of police shootings and persons suffering
from mental illness; and

g. By these actions, defendant City of Phi|ade|phia deprived
plaintiff’s decedent of rights secured by the Fourth and
Fourteenth Amendments to the United States Constitution
in violation of 42 U.S.C. §1983.

53. As a direct and proximate result of the actions and conduct of
defendants, plaintiff’s decedent sustained damages as set forth above.

54. The actions of Defendants Nicoletti and l\/lcCarthy were wanton,
wilful, malicious, oppressive, outrageous and unjustifiable and, therefore,
exemplary damages are necessary and appropriate.

55. Plaintiff is entitled to attorney’s fees and costs of prosecution of
this suit from defendants, pursuant to 42 U.S.C. §1988.

SECOND CAUSE OF ACT|ON
FEDERAL C|V|L R|GHTS VlOLATlONS UNDER
42 U.S.C. §12132 and 29 U.S.C. §794

56. The allegations set forth in preceding paragraphs, inclusive, are

incorporated herein as though fully set forth.

57. As a direct and proximate result of all Defendants' conduct,

committed under color of state law, Defendants discriminated against

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plaintiff’s decedent by reason of his mental health disability, denying him the

benefits of the services, programs and activities to which he was entitled as

a person with a mental health disability including but not limited to the right to

be free of discriminatory or disparate treatment by virtue of his mental

disability, and to due process and equal protection of the law. As a result,

plaintiff’s decedent suffered harm in violation of his rights underthe laws and

Constitution of the United States, 42 U.S.C. §12132 and 29 U.S.C. §794.

58. Defendant City of Phi|ade|phia has failed to comply with the

mandates of 42 U.S.C. §12132 and 29 U.S.C. §794 in the following areas:

3.

The failure to properly train, supervise and discipline police
officers regarding crisis intervention technique for
individuals who exhibit the signs and symptoms of mental
disabilities;

The failure to provide adequate training and resources for
crisis intervention teams of police officers and others to
respond to emergencies involving persons with mental
health disabilities including, but not limited to the
commitment and transportation of persons with mental

health disabilities for treatment under the Pennsylvania

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l\/lental Health and Procedures Act;

c. The failure of police officers to follow established policies,
procedures, directives and instructions regarding crisis
intervention techniques for individuals who exhibit the signs
and symptoms of mental health disabilities; and

d. The failure of police officers to follow established policies,
procedures, directives and instructions regarding the
procedures for the commitment and transportation of
persons with mental health disabilities for treatment under
the Pennsylvania l\/lental Health and Procedures Act.

59. By their actions, Defendants have deprived plaintiff’s decedent of
rights secured by the United States Constitution, 42 U.S.C. §12132 and 29
U.S.C. §794.

TH|RD CAUSE OF ACT|ON
ASSAU LT & BATTERY

60. The allegations set forth in preceding paragraphs, inclusive, are
incorporated herein as though fully set forth.

61. Defendants Nicoletti and l\/lcCarthy did place plaintiff’s decedent
in fear of imminent, unpermitted, unprivileged, offensive bodily contact and
did, in fact, subject him to such bodily contact.

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62. The acts of Defendants Nicoletti and l\/lcCarthy as set forth above,
constituted the torts of assault and battery, all to plaintiffs’ great detriment and
loss.

63. The actions of Defendants Nicoletti and l\/lcCarthy were wanton,
wilful, malicious, oppressive, outrageous and unjustifiable and, therefore,
exemplary damages are necessary and appropriate.

FOURTH CAUSE OF ACT|ON
OUTRAGEOUS CONDUCT CAUS|NG SEVERE EMOT|ONAL DlSTRESS

64. The allegations set forth in preceding paragraphs, inclusive, are
incorporated herein as though fully set forth.

65. Defendants Nicoletti and l\/lcCarthy by extreme and outrageous
conduct, intentionally or recklessly caused severe emotional distress to
plaintiff’s decedent.

66. The acts of Defendants Nicoletti and l\/lcCarthy alleged in the
preceding paragraphs, constitute the tort of Outrageous Conduct Causing
Severe Emotional Distress, all to plaintiff’s great detriment and loss.

67. The actions of Defendants Nicoletti and l\/lcCarthy were wanton,
wilful, malicious, oppressive, outrageous and unjustifiable and, therefore,

exemplary damages are necessary and appropriate.

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JURY DEMAND
68. Plaintiff demands a trial by jury as to each defendant and as to each

cause of action.
WHEREFORE, plaintiff demands judgment against each defendant,
jointly and severally, as to each count, along with costs, attorney’s fees,

interest, exemplary damages as to the individual defendants, and such other

and further relief as the Court may deem just and proper.

By: POPPER & YA TVIN

     

 

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August 11, 2011 Attorneys for Plaintiffs

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